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                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD.,

              Plaintiff,

   v.

   CIRCUITRONIX LLC,

         Defendant,
   ____________________________________/

     REPLY IN SUPPORT OF CIRCUITRONIX, LLC’S OMNIBUS MOTION IN LIMINE



                                                                                                .
                                                                                            Stephen F. Rosenthal
                                                                                            Florida Bar No. 0131458
                                                                                            srosenthal@podhurst.com
                                                                                            Matthew P. Weinshall
                                                                                            Florida Bar No. 84783
                                                                                            mweinshall@podhurst.com
                                                                                            Christina H. Martinez
                                                                                            Florida Bar No. 1029432
                                                                                            cmartinez@podhurst.com
                                                                                            PODHURST ORSECK, P.A.
                                                                                            One S.E. 3rd Avenue, Suite 2300
                                                                                            Miami, Florida 33131
                                                                                            Tel.: 305-358-2800


                                                                                            Counsel for Circuitronix, LLC




   Podhurst Orseck, P.A.
   One S.E. 3rd Avenue, Suite 2300, Miami, FL 33131 • Miami 305.358.2800 Fax 305.358.2382 • Fort Lauderdale 954.463.4346   www.podhurst.com
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              Circuitronix, LLC (“CTX”) replies to Plaintiff Benlida’s response to CTX’s Omnibus
   Motion in Limine. See DE 203 (“Resp.”); DE 198 (“Mot.”). The motion should be granted.

              1. Any Damages Computation Beyond that Pled in the Complaint
              CTX’s motion explains why Benlida should be barred from introducing evidence of its
   damages computation beyond the superficial calculation pled in the complaint as a sanction for
   failure to disclose that computation: Benlida failed to meet its disclosure obligations under Rule
   26(a) or (e), delayed responding to CTX’s discovery specifically targeting the computation until
   the close of discovery, and even then omitted essential information that would allow CTX to
   evaluate how Benlida calculated its assertions that the invoices listed in the complaint were
   unpaid. Mot. at 2-5. Rather than rebut these points, Benlida tries to waive the problem away by
   suggesting that “a simple computation beyond that pled in the complaint may well be
   unnecessary.” Resp. at 4. That’s little comfort to CTX, who has already identified multiple
   complexities impairing its ability to fairly assess the assumptions behind Benlida’s allegations of
   what invoices were unpaid, and other components of its claimed damages, all stemming from
   Benlida’s disclosure omissions. Three such difficulties are detailed in the footnote. 1
              Yet another complication flowing from Benlida’s failure to disclose how it computed its
   damages has only just become evident from Benlida’s response to CTX’s statute-of-limitations


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     First, Benlida claims to have calculated the damages sought in the complaint and performed
   undisclosed computations to identify the supposedly unpaid invoices, as of May 31, 2020, yet it
   has never shown that work nor produced any contemporaneous version of its accounting records
   from which CTX can derive the list of what invoices would be paid/unpaid as of that date.
   Second, the $11.5 million sum of total invoices in the complaint (DE 26, ¶ 437) somehow
   includes consideration of invoices from ROK, not just Benlida, even though the listed invoices
   are only from Benlida. See Mot. at 3 n.1 (citing Benlida’s CFO’s testimony). Third, Benlida
   gave a complex and positively opaque explanation of how it arrived at the $2.11 million figure
   for claimed damages relating to price increases. See id. at 4-5. They started with a $3.3 million
   figure they had sent CTX in 2019, then later, for litigation purposes, reviewed their internal
   periodic purchasing price data for copper clad laminate (“CCL”) over the more than two-year
   period involved, factored in value-added tax (“VAT”), applied some formula of “FIFO” use of
   the laminate for production (presumably to account for the variable of CTX being just one of
   many customers whose orders consumed the CCL), and somehow calculated a “correct[ed]”
   figure of $2.11 million. Ex. 1 (T. Huang Depo.) at 46:6-52:13, 140:8-143:7. Benlida has never
   disclosed any of those variables or the formula it used to derive that figure. Its interrogatory
   response asserted that “VAT of CCL in Belida records support this number” (DE 185-5 at 2 (No.
   2)), but it never produced or identified those records.


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   argument, which is predicated on CTX’s understanding that Benlida relied on time-barred debts
   of CTX-HK to compute which invoices from both CTX (and CTX-HK) remain unpaid. See
   Mot. at 9-10. Relying on a table Benlida produced showing debts of CTX-HK by year, the
   motion interprets the “Balance Due” column of the table to mean exactly what it says: the debt
   Benlida claims existed each year. See id. at 10. In response, Benlida asserts, for the very first
   time, that the table “was not intended to be a true representation of the aging accounts receivable,
   to show the amounts that were outstanding, nor from what period the amounts were unpaid.”
   Resp. at 9. And, also for the first time ever in this case, Benlida provides an illustration of
   “additional analysis” to show how it claims to have applied payments from CTX-HK, in the
   aggregate, over time. See Resp. at 9-10. It has never before produced any such illustrative
   computation, let alone a contemporaneous document showing such a FIFO calculation for a
   CTX-HK (or CTX) only. All it produced was a commingled-FIFO chart for both companies,
   which it swore it used. Mot. at 3-4. Benlida’s new illustration of how it supposedly “cleared”
   older invoices to CTX-HK “by properly using FIFO bookkeeping” (Resp. at 10) conflicts with
   its sworn testimony that it used a commingled-FIFO methodology (i.e., lumping the CTX and
   CTX-HK invoices and payments into a single bucket), somehow also including ROK invoices.
              Benlida deflects its own failure to disclose a comprehensible damages computation by
   assailing CTXs’ attempt to apprehend it as “obfuscatory” and based on “pretend[] …
   misapprehen[sion].” Resp. at 8. To the extent CTX has truly misapprehended, it’s only further
   demonstration of the prejudice flowing from Benlida’s utter disclosure failure, a point Benlida
   ducks entirely. Benlida complains this motion seeks to “place Benlida in a straightjacket,” id. at
   4, but the restraint that should limit Benlida’s freedom to expound upon its damages at trial is a
   product of its own making and Federal Rules 26 and 37(c)(1). Benlida has never provided a
   straight story as to how it computed its claimed damages in this case, leaving CTX grasping for
   straws on the eve of trial. This is precisely the type of harmful, unjustifiable non-disclosure that
   Rules 26 and 37 are designed to combat.
              Avoiding confronting the Rule 37 issues of justification and harmfulness, Benlida
   vaguely asserts that this Court has “rejected such arguments” in three cases. Resp. at 4 (citing
   Ore v. Tricam, Indus., No. 14-60269-Civ-Scola, 2017 WL 6597517 (S.D. Fla. Oct. 16, 2017),
   FTC v. On Point Global LLC, No. 19-25046-Civ-Scola, 2021 WL 4891334 (S.D. Fla. Sept. 23,
   2021), and Ramones v. Experian Info. Solns., LLC, No. 19-62949-Civ-Scola, 2021 WL 4050874,


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   at *5 (S.D. Fla. Sept. 4, 2021)). In two of those cases, this Court denied particular motions in
   limine because Rules 26(a) or (e), and 37(c), are self-executing. On Point, 2021 WL 4891334, at
   *5; Ramones, 2021 WL 4050874, at *5. 2
              None of those rulings, however, addressed a motion seeking to preclude the use of
   undisclosed damages computations. A plaintiff’s computation of its damages is virtually certain
   to figure prominently at trial, particularly in a commercial case. A plaintiff’s violation of its
   discovery obligations to disclose its damages computations deprives the defendant of the “ability
   to prepare a targeted defense” and affects “the fairness of the trial.” Vital Pharms., Inc. v.
   Monster Energy Co., No. 21-13264, 2022 WL 3083273, at *4 (11th Cir. Aug. 3, 2022). Imposing
   the appropriate sanction before trial helps ameliorate that unfairness. Such a pre-trial ruling will
   also streamline the trial by avoiding foreseeable and likely time-consuming objections in the
   presence of the jury. The Eleventh Circuit has repeatedly affirmed district courts’ in limine
   rulings excluding damages evidence. Circuitronix v. Kinwong Elec. (Hong Kong) Co., Ltd., 993
   F.3d 1299, 1308 (11th Cir. 2021); Mee Indus. v. Dow Chem. Co., 608 F.3d 1202, 1221–22 (11th
   Cir. 2010); Vital Pharms., Inc., 2022 WL 3083273, at *4.
              To the extent the Court requires a more narrowly focused argument on a motion in limine,
   CTX clarifies that this aspect of its motion is directed specifically at precluding Benlida from
   offering evidence or arguing about the way it computed its damages that varies from, or is any
   more specific than, the threadbare information it disclosed to CTX. That means Benlida should
   be barred from evidence or argument: (1) that it calculated which invoices are allegedly unpaid
   by any means other than the commingled-FIFO process that Benlida’s bookkeeper, Ms. Chen,
   testified about having done; (2) showing any computations more specific than those on the face


   2
     The opinion in Ore involved a post-trial motion. 2017 WL 6597517, at * 5. Benlida appears to
   cite it to argue, without elaboration, that CTX did not seek relief for Benlida’s non-compliance.
   That is inaccurate. CTX sought relief from the Court on two prior occasions to obtain critical
   evidence from Benlida during the discovery period. The first was CTX’s motion to compel
   Benlida to produce its witnesses for deposition, including Ms. Chen and CFO, Roger Wu, back
   in April 2022. See DE 66. The second was a request for a hearing before Magistrate Judge
   Goodman on June 1, 2023 to address discovery disputes pertaining to outstanding discovery
   requests, including for Benlida’s database of aging dets of accounts receivable for CTX. See DE
   166 (hearing setting). The hearing on those disputes was obviated after Benlida stated that, other
   than what had already been produced, there were no responsive communications. See DE 198-
   12 (Letter from R. Lerner to S. Rosenthal (June 5, 2023)). Benlida ended up producing no
   documents that showed any non-commingled accounts receivable.

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   of the only document Benlida produced evidencing its payment allocation that coincides with the
   invoices listed in the complaint, an Excel spreadsheet entitled “CTX Unpaid Invoices, 2020
   December” (Depo. Ex. 84); 3 and (3) showing any computations as to how Benlida actually
   derived the $2.11 million figure attributable to a price increase.
              Last, Benlida mischaracterizes CTX’s expert’s testimony, saying there is “99%
   agreement between the parties as to the amounts at issue.” Resp. at 2 (emphasis added). Mr.
   Mukamal was referring only to data “relating to the two entities, CTX, LLC and Benlida.” Id. at
   3 (quoting deposition). He was not talking about CTX-HK. Half of Benlida’s claims implicate
   CTX-HK. The resulting computations are anything but simple, and Benlida’s substantial
   disclosure failures have placed CTX in the untenable position of facing sandbagging at trial on
   millions in claimed damages. The exclusionary sanction Rule 37(c)(1) prescribes is warranted.

              2. Debts CTX-HK Allegedly Owes to Benlida
              This aspect of the motion is largely, though not entirely, contingent upon the Court’s
   ruling on CTX’s summary-judgment motion. If the Court rules that Benlida is estopped from
   suing upon the invoices it issued to CTX-HK because it failed to plead any theory by which CTX
   could be responsible for those asserted debts, or as a sanction for failing to plead or disclose its
   commingled-FIFO methodology, then an order excluding argument and evidence as to those
   CTX-HK debts logically should follow. The same result should obtain if the Court grants the
   Rule 56 motion on the ground that the promise in the 2014 Business Authorization was
   superseded by the integration clause of the 2016 Letter Agreement. Mot. at 7-8.
              Even if the Court denies the Rule 56 motion, argument and evidence about deposition
   exhibit 162, a letter from CTX-HK’s outside auditor, should be barred because Benlida did not
   produce it during discovery. See Mot. at 8 n.7. Benlida offers no defense to this argument.
              The arguments Benlida does make suffer from multiple flaws. It leads with an argument
   that is entirely non-responsive to the failure-to-plead and sanctions arguments in the motion,
   seeking instead to illustrate the “preposterousness” of CTX’s (merits) position. Though there is

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     By way of illustration, that would mean Benlida should not be allowed to show, for the first
   time at trial, a demonstrative that purports to illustrate (a) how Benlida applied a particular wire
   transfer payment from CTX (or CTX-HK), identified by its amount or date received, to all or
   some of a particular invoice, or (b) when Benlida allocated such a payment to that particular
   invoice. Such important details of aging accounts receivable do not appear in exhibit 84 or
   anything else Benlida has disclosed.

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   no such exception to the legal principles raised in the motion, we note, in direct response that
   Benlida’s attempted illustration (of “preposterousness”) through an “If/Then example,” that it
   glaringly omits a crucial, inconvenient, but admitted and legally salient, fact: that CTX sent
   instructions with its monthly payment details for which invoices its wire transfers for that
   payment period should be applied to. See DE 184-1 at 15-18; DE 193 at 8-10. Contrary to
   Benlida’s characterization that CTX was paying money to Benlida for goods CTX-HK ordered
   (Resp. at 4), for all of the invoices to CTX that Benlida is suing upon, CTX’s monthly payment
   details designated payment only for invoices to CTX, not for invoices to CTX-HK. 4
              Undeterred by CTX previously having pointed out Benlida’s failure to have pled any
   legal basis for CTX’s legal responsibility for invoices Benlida issued to CTX-HK, Benlida
   doubles down on its reliance on unpled theories, trotting out a third new theory for the first time
   in response to CTX’s motions in limine. Forced to concede that CTX-HK became a party to the
   Manufacturing Agreement with Benlida via the 2016 Letter Agreement (Resp. at 12), such that
   CTX-HK had standing itself to place its own orders with Benlida from the date of that agreement
   forward, Benlida pivots—out of nowhere—to claim that CTX thereby became “jointly liable” for
   CTX-HK’s debts as a “co-signer[,]” id. at 5. Benlida’s attempt to move the goalposts yet again,
   after already doing so in response to CTX’s summary-judgment motion, is way out of bounds.
   See CTX’s Reply in Support of Its Motion to Exclude or Limit Testimony of Benlida’s Rebuttal
   Expert at 6-9.

              3. Debts Barred by the Statute of Limitations
              Benlida offers a two-part response to CTX’s statute of limitations defense: first, they used
   an appropriate accounting method (FIFO); second, CTX misapprehends how they performed that
   accounting to isolate the debts they sue upon. Both analytic steps are flawed.
              They proclaim their reliance on FIFO accounting to rest on “black-letter Florida law” that
   a debtor must designate payment instructions “at the time of payment,” Resp. at 6 (citing Randall
   v. Pettes, 12 Fla. 517 (1868)). That bold claim is simply stunning given the more recent Florida
   case law CTX discussed at length in prior briefing, which Benlida willfully ignores. See DE 193
   at 8-10 (discussing Urrea v. Koplow, 359 So. 3d 1212, 1215 (Fla. Dist. Ct. App. 2023) (holding



   4
    See DE 177-6 (Ochoa Decl.), ¶¶ 4-6; DE 184-2 (CTX’s Stmt. of Mat. Facts), ¶ 23 (citing Ochoa
   Decl.); DE 189 (Benlida’s Resp. Stmt. of Mat. Facts), ¶ 23 (not contesting this fact).

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   that the principle from Randall is “inapplicable” to situations involving two separate debtors),
   and Ott v. Bray, 154 So. 209, 210 (Fla 1934) (holding that a debtor’s payment instructions
   remain binding even if sent within a reasonable time after payment)).
              Just as it ignores the law, Benlida also ignores the admitted facts that CTX sent monthly
   payment details which Benlida knew instructed it to apply CTX’s payments to the listed invoices
   to CTX. See DE 184-1 at 16. Notwithstanding that, Benlida tries to pass this case off as one
   where a creditor was free to apply payments to time-barred debts because “the payment … does
   not specify that … the moneys are to be applied to only more recently applied debts.” Resp. at 6.
   But Benlida has admitted that CTX did so specify in its payment details. See note 4, supra.
              Benlida denigrates CTX’s reliance on the stubborn fact of its payment details as
   somehow “out-of-context” and “obfuscatory” because CTX’s expert, Mr. Parisi, “acknowledged
   that FIFO application of moneys received to oldest debts is appropriate.” Resp. at 8. Even if
   that were correct, it would not justify disregarding CTX’s payment instructions. Oblivious to its
   glass house, Benlida buries through ellipses Mr. Parisi’s qualifier that FIFO application would be
   appropriate “[a]s long as it’s applied to the appropriate entity that issued those invoices.”
   DE 201-1 (Parisi Depo.) at 242:14-15; see id. at 243:13-21; Resp. at 6.
              Regardless, and more importantly, Florida law forbids Benlida’s commingled-FIFO
   methodology, Urrea, 359 So. 3d at 1215, particularly in light of CTX’s payment instructions.
   None of the case law Benlida cites (Resp. at 6-7) holds otherwise. There is no dispute that the
   passage of a limitations period does not automatically bar a creditor from applying other funds of
   the debtor to time-bared debt. 5 The creditor’s right to do so, however, remains constrained by
   the debtor’s payment instructions, a point Benlida fails to mention. Henry v. Halifax Hosp. Dist.,
   368 So. 2d 432, 433 (Fla. Dist. Ct. App 1979) (also holding that the debtor’s payment instruction
   separately precluded the creditor from applying the funds to old debt); cf. Hahn Auto.
   Warehouse, Inc. v. Am. Zurich Ins. Co., 81 A.D.3d 1331, 1332 (N.Y. App. Div. 4th Dept. 2011)
   (distinguishable because the terms of debtor’s “letter of credit unequivocally permitted
   defendants to apply the letter of credit to any debts that plaintiff owed to defendants”).




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     Henry v. Halifax Hosp. Dist., 368 So. 2d 432, 433 (Fla. Dist. Ct. App 1979); Hoagland v. Ry.
   Exp. Agency, 75 So. 2d 822, 827 (Fla. 1954); Danielson v. Line, 185 So. 332, 333 (Fla. 1938); In
   re: Soler Somohano v. PRA Receivables Mgmt. LLC, 819 F. App’x 873, 876 (11th Cir. 2020).

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              This reply has already addressed the impropriety of Benlida’s virgin debut of illustrating
   old data “with . . . additional analysis to make it an appropriate representation of accounts
   receivable.” Resp. 9; see supra, at 2-3. The tardy roll-out of such a computation, without any
   evidentiary support, not only renders it unreliable; it exemplifies the quandary that Benlida’s
   broader non-disclosure of its damages computations creates for CTX. On its own terms, it must
   be disregarded as predicated on the errant reading of Florida law that CTX’s payment
   instructions (or in this example CTX-HK’s) could be disregarded because they were not sent “‘at
   the time of payment.’” Resp. at 10.

              4. Records of CTX’s Account That Benlida Did Not Produce During Discovery
              This aspect of the motion concerns a class of documents of central importance to the
   claims (and counterclaims) in this case: Benlida’s internal records of CTX’s account. Mot. at
   12-13. Benlida argues against an order in limine due to the “unlikely event that a [such]
   document may have slipped through the cracks, so to speak.” Resp. at 10. Were this class of
   documents merely tangential to the core dispute between the parties, Benlida’s position might be
   persuasive. But counsel should exercise particular diligence with respect to undisclosed
   information about CTX’s account at Benlida, both in documentary and testimonial form. There
   is no good reason an order in limine should not be entered on this subject. Specifically, the order
   should bar argument and evidence of (a) undisclosed versions of Ms. Chen’s Excel spreadsheet
   concerning CTX’s account or (b) undisclosed historical records of CTX’s account from Benlida’s
   “Jindie” computer system.

              5. CTX’s experts’ testimony regarding “related party” status
              Benlida misreads the scope of this aspect of the motion, which targets only the
   introduction of testimony of CTX’s experts about the “related” status of CTX and CTX-HK,
   because the speculation of an accountant cannot supplant questions of law governing the legal
   relationship or obligation between two corporations. Mot. at 13-14. 6 Benlida reads this aspect
   of the motion more broadly than it’s framed. See Resp. at 11. If the Court grants point 2 of this


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     The portions of CTX’s experts’ depositions in which Benlida’s counsel elicited such testimony
   include: DE 201-1 (Parisi Depo.) at 66:2-67:23, 83:8-84:4, 116:21-118:12,120:5-124:9, 196:21-
   197:11, 204:9-207:2, 209:6-212:21, 214:5-21, 219:14-221:5, 228:14-229:16, 233:4-12; 201-2
   (Mukamal Depo.) at 80:3-81:13, 125:17-127:18, 129:9-130:17, 137:20-139:18, 140:19-141:18,
   150:23-151:19,

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   motion—excluding evidence and argument concerning CTX-HK’s debts—that ruling would
   encompass the subject of “CTX and CTX-HK somehow operat[ing] as the same company.”
   Mot. at 8, 20. In that case, the jury would appropriately be kept “in the dark” about CTX-HK
   (Resp. at 11), since CTX-HK serves only a distraction from the claims Benlida actually asserted
   against CTX (not the ones it has belatedly and inappropriately tried to articulate in response to
   CTX’s summary-judgment motion and motions in limine).
              Benlida’s response to this aspect of the motion fails to address the gist of the argument:
   that there is a distinction between an accountant’s testimony about the perceived business
   relationship between two companies and the legal question of whether one is responsible for the
   debts of another. That legal question is not even one that belongs in this case, since Benlida’s
   complaint utterly failed to plead an agency or alter ego theory (let alone the joint-and-several
   liability theory Benlida voiced for the first time in response to CTX’s motions in limine). See
   DE 184-1 at 7-11; DE 193 at 1-4. Nor did Benlida raise the theory as an affirmative defense to
   CTX’s counterclaims to recoup its overpayments to Benlida. See DE 43.

              6. Assertions Contradicting Benlida’s Judicial Admissions
              Benlida’s response to this point is both perplexing and incomplete. The motion addresses
   two judicial admissions Benlida made in its answer: (1) that the 2016 Letter Agreement made
   CTX-HK an additional party to the Manufacturing Agreement and (2) that in some cases,
   Benlida instructed CTX to make payments for Benlida invoices to ROK instead. During the
   meet-and-confer conference, Benlida represented it would not contradict either admission at trial.
   Mot. at 16. Its response says nothing about the second issue, so presumably it agrees. When
   presented with an agreement, the Court has granted motions in limine. See, e.g., Ramones, 2021
   WL 4050874, at *4.
              With respect to the first issue (that CTX-HK became a party to the Manufacturing
   Agreement in July 2016), however, Benlida takes a decidedly squirrely position. It says it “does
   not intend to contract its admission” yet resists entry of an order in limine. Resp. at 12 (emphasis
   added; capitalization altered). That kind of hedge should raise an eyebrow. Benlida’s surprise
   non-committal appears to stem from its recognition that this binding admission undercuts its
   argument (at summary judgment) that CTX-HK was dependent on CTX to place orders with
   Benlida. Benlida is forced to confess error that the argument it made in response to CTX’s Rule



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   56 motion contradicted its earlier admission that the 2016 Letter Agreement made CTX-HK a
   party to the Manufacturing Agreement.
              In a belated damage-control effort, Benlida tries in its response to “refine[]” (i.e., rewrite)
   its summary-judgement position. Id. As noted above, Benlida cannot at the eleventh hour assert
   yet another unpled legal theory of CTX’s liability for CTX-HK’s debts—joint-and-several
   liability as a co-signer. See DE 184-1 at 7-8; DE 193 at 1-4. Recall that the complaint does not
   even mention CTX-HK or the 2016 Letter Agreement; it certainly contains no facts supporting
   an allegation of joint-and-several liability based on that contract. If the Court denies the Rule 56
   motion, the issue will be addressed during trial of how the parties’ adapted the Manufacturing
   Agreement’s prohibition against Benlida dealing with companies related to CTX’s listed
   exclusive customers, see DE 15-2, § 1.6, to purchase orders CTX-HK independently placed with
   Benlida for those new customers on its own account.

              7. References to the Parties’ Other Lawsuits or Alleged Litigiousness
              The motion should be granted as to this uncontested issue. See Mot. at 17; Resp. at 15.

              8. The 2022 Settlement Agreement and CTX’s Termination Thereof
              The motion should be granted as to this uncontested issue. See Mot. at 18; Resp. at 15.

              9. Benlida’s (or ROK’s) Entire Print-Run of Invoices
              Even though Benlida only sued on invoices spanning a one-year period (December 2018
   though December 2019), it argues that introducing all of the invoices it issued to CTX and CTX-
   HK dating back to 2012 is necessary to prove its damages, and that “the jurors could do the
   simple math and determine how much is owed.” Resp. at 13-15. Benlida’s position—based on
   the assertion that “the invoices are th[e] computation” of damages (id. at 14)—papers over
   substantial complexity and ignores the waste of time and risk of jury confusion adding seven
   more years worth of invoices will create. Benlida’s plan to introduce the entire print-run of
   invoices will geometrically expand the evidence which may need to be subjected to the following
   cumbersome and complicated set of considerations for the jury. These considerations may
   become necessary if the Court does not, for various reasons, preclude Benlida from suing upon
   the invoices to CTX-HK, relying upon its undisclosed commingled-FIFO allocation
   methodology, and introducing brand-new testimony about its damages at trial:



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    Podhurst Orseck, P.A.
   One S.E. 3rd Avenue, Suite 2300, Miami, FL 33131 • Miami 305.358.2800 Fax 305.358.2382 • Fort Lauderdale 954.463.4346   www.podhurst.com
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               Comparing every invoice against the corresponding CTX and CTX-HK monthly
                payment detail to assess which were reasonably close enough in time to be controlled
                by CTX’s (or CTX-HK’s) payment instructions, see Ott, 154 So. at 210, such that
                Benlida was not free to apply the affected funds on a commingled-FIFO basis;

               Applying every debit memo listed on the payment detail to reduce the amount due;

               Re-computing the chain-reaction effect of such findings on the allocation of payments
                to older debts, which could require totaling up the value of hundreds of discrete, short
                periods of time as to which FIFO allocation could permissibly be performed;

               And finally, ascertaining the effect of that calculation upon which of the invoices
                Benlida actually sued upon in the complaint remain unpaid, in full or in part.

   This is far from “simple math.” It would be vastly more complex than that depicted in Benlida’s
   illustrative chart (Resp. at 9), which just shows a straight-FIFO application of payments on an
   annualized basis for a single company.
              Benlida won’t admit it, but these complexities may already dog its burden of proof of its
   damages, even as to the one year’s worth of invoices it sued upon. Unjustifiably multiplying that
   exercise seven-fold would create a nightmare for trial, particularly considering that Benlida has
   never disclosed any aspect of those calculations, lacks a damages expert for its case-in-chief, and
   thereby deprived CTX of the opportunity to prepare a rebuttal expert. See generally DE 197.
              Two further considerations should weigh on the Court’s consideration of this aspect of
   the motion. First, and critically, it does not appear that Benlida even produced its entire print-
   run of invoices for all time during discovery. Rule 26 and CTX’s requests for production would
   have obligated it to do so. It is little solace to CTX that it may have been in “possession” of the
   old invoices because Benlida sent them. Resp. at 14. Benlida has never before articulated that
   its damages theory involves computation of all prior invoices. That works unfair surprise of its
   own, and the documents should be excluded. See Fed. R. Civ. P. 37(c). Benlida’s supposition
   that CTX has ready access to the old invoices to CTX-HK, a separate company, is even further
   afield. Second, Benlida has dodged the question of whether the entire print-run of invoices
   includes those from its sister company, ROK, a prejudice-compounding factor. See Mot. at 19.

                                                                   CONCLUSION
              For all of these reasons, CTX respectfully requests that the Court enter an order in limine
   on each of the items listed in the Conclusion to the motion. Mot. at 20.



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    Podhurst Orseck, P.A.
   One S.E. 3rd Avenue, Suite 2300, Miami, FL 33131 • Miami 305.358.2800 Fax 305.358.2382 • Fort Lauderdale 954.463.4346   www.podhurst.com
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                                                                             Respectfully submitted,

                                                                             /s/ Stephen F. Rosenthal     .
                                                                             Stephen F. Rosenthal
                                                                             Florida Bar No. 0131458
                                                                             srosenthal@podhurst.com
                                                                             Matthew P. Weinshall
                                                                             Florida Bar No. 84783
                                                                             mweinshall@podhurst.com
                                                                             Christina H. Martinez
                                                                             Florida Bar No. 1029432
                                                                             cmartinez@podhurst.com
                                                                             PODHURST ORSECK, P.A.
                                                                             One S.E. 3rd Avenue, Suite 2300
                                                                             Miami, Florida 33131
                                                                             Tel.: 305-358-2800

                                                                             Counsel for Circuitronix, LLC

                                                      CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission

   of Notices of Electronic Filing generated by CM/ECF on August 29, 2023 as filed with the Clerk of

   the Court using CM/ECF.

                                                                                      By: /s/ Stephen F. Rosenthal           .
                                                                                             Stephen F. Rosenthal




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    Podhurst Orseck, P.A.
   One S.E. 3rd Avenue, Suite 2300, Miami, FL 33131 • Miami 305.358.2800 Fax 305.358.2382 • Fort Lauderdale 954.463.4346   www.podhurst.com
